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     ANTHONY P. CAPOZZI, CSBN: 068525
1    NICHOLAS A. CAPOZZI, CSBN: 275568
     LAW OFFICES OF ANTHONY P. CAPOZZI
2    1233 W. Shaw Avenue, Suite 102
     Fresno, California 93711
3    Telephone: (559) 221-0200
     Facsimile: (559) 221-7997
4    E-mail: anthony@capozzilawoffices.com
5    Attorney for Defendant,
     RONALD WILKOWSKI
6

7
                     IN THE UNITED STATES DISTRICT COURT
8
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,           ) Case No.: 1:11-CR-00428-LJO
                                         )
11             Plaintiff,                )
                                         )
12       vs.                             ) STIPULATION AND ORDER TO
                                         ) CONTINUE SENTENCING
13                                       )
                                         )
14   RONALD WILKOWSKI,                   )
                                         ) Date: July 8, 2013
15             Defendant.                ) Time: 8:30 a.m.
                                         ) Hon. Lawrence J. O’Neill
16

17       Plaintiff United States of America, by and through its
18   counsel of record, and defendant, by and through his counsel
19   of record, hereby stipulate as follows:
20       1. By previous order, this matter was set for sentencing
21   on July 8, 2013, at 8:30 a.m.
22       2. By this stipulation, defendant now moves to continue
23   the sentencing until August 5, 2013, at 8:30 a.m. and to
24   exclude time between July 8, 2013, and August 5, 2013, under
25   18 U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not oppose
26   this request.
27       3. The parties agree and stipulate, and request that the
28   Court find the following:
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1              a. The Defendant has requested his medical records
2          and is waiting for the Doctor’s Office and Pharmacy to
3          provide them to Defense Counsel.
4              b. The government does not object to the continuance.
5              c. Based on the above-stated findings, the ends of
6          justice served by continuing the case as requested
7          outweigh the interest of the public and the defendant in a
8          trial within the original date prescribed by the Speedy
9          Trial Act.
10             d. For the purpose of computing time under the Speedy
11         Trial Act, 18 U.S.C. § 3161, et seq., within which trial
12         must commence, the time period of July 8, 2013, to August
13         5, 2013, inclusive, is deemed excludable pursuant to 18
14         U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a
15         continuance granted by the Court at defendant’s request on
16         the basis of the Court's finding that the ends of justice
17         served by taking such action outweigh the best interest of
18         the public and the defendant in a speedy trial.
19         4. Nothing in this stipulation and order shall preclude a
20   finding that other provisions of the Speedy Trial Act dictate
21   that additional time periods are excludable from the period
22   within which a trial must commence.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                          - 2 -
                      Stipulation and Order to Continue Sentencing
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1    IT IS SO STIPULATED.
2    Dated: July 3, 2013
3                                            /s/ Laurel J. Montoya _
                                             Assistant United States
4                                            Attorney
5

6    Dated: July 3, 2013
7                                            /s/ Anthony P. Capozzi
                                             Anthony P. Capozzi
8                                            Attorney for
                                             RONALD WILKOWSKI
9

10                                      ORDER
11

12       For reasons set forth above, the continuance requested by
13   the parties is granted for good cause and time is excluded
14   under the Speedy Trial Act from July 8, 2013, to, and
15   including, August 5, 2013, based upon the Court’s finding
16   that the ends of justice outweigh the public’s and
17   defendant’s interest in a speedy trial. 18 U.S.C.
18   §3161(h)(7)(A).
19       IT IS ORDERED that the Sentencing currently scheduled for
20   July 8, 2013, at 8:30 a.m. is continued to August 5, 2013, at
21   8:30 a.m.
22       IT IS SO ORDERED.
23

24   Dated: July 3, 2013
25                                          _/s/ Lawrence J.O’Neill_____
26                                          Honorable Lawrence J. O’Neill
27

28

                                          - 3 -
                      Stipulation and Order to Continue Sentencing
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